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                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                       Chapter 11

MALLINCKRODT PLC, et al.,1                                   Case No. 20-12522 (JTD)

                                   Debtors.                  (Jointly Administered)


                         GOVERNMENT ATTORNEY CERTIFICATION
         Pursuant to the requirement of Local Rule 9010-1(e) for admittance of Government
counsel to represent the United States of America (or any officer or agency thereof) or any
state or local government (or any officer or agency thereof), the undersigned counsel hereby
certifies the following in order to satisfy the requirement to appear to represent the
Commonwealth of Massachusetts in this action: I am admitted to practice law in the
Commonwealth of Massachusetts, in the U.S. District Court for the District of Massachusetts,
and in the U.S. Bankruptcy Court for the District of Massachusetts. I am in good standing in
all jurisdictions to which I have been admitted; and, further, I consent to be bound by the
Local Rules of the Bankruptcy Court-District of Delaware and submit to the jurisdiction of
this court for disciplinary purposes.



                                                                 Respectfully submitted:
November 3, 2020
                                                                 /s/ Gillian Feiner
                                                                 Gillian Feiner,
                                                                 Mass. BBO No. 664152
                                                                 Senior Enforcement Counsel
                                                                 Office of the Attorney General
                                                                 One Ashburton Place
                                                                 Boston, MA 02108
                                                                 Tel: 617-963-2571
                                                                 gillian.feiner@mass.gov



1
  A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims and
noticing agent at http://restructuring.primeclerk.com/Mallinckrodt. The Debtors’ mailing address is 675 McDonnell Blvd.,
Hazelwood, Missouri 63042
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                                CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the foregoing has been served via the Court’s
Electronic Filing System on all parties requesting notice in this proceeding on November 3,
2020.



                                                         /s/ Gillian Feiner
                                                         Gillian Feiner
                                                         Senior Enforcement Counsel
